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                                                                   Filed v/ith the Classified
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                                                                   Dale       -Vh/lil
                    rN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 UNITED STATES OF AMERICA,

             V.
                                             Case No. 1:18-cr-457(AJT)
  BIJAN RAFIEKIAN
                                             Filed with CISO
             and                             In Camera and Under Seal

  I<CAMIL EICIM ALPTEKIN,

             Defendants.



                               CLASSIFIED ORDER
